Case 1:19-cr-00725-JPO Document 56-3 Filed 12/20/19 Page 1of 3

ralph oswald isenegger
Ve:svetapamas
Sep 3 at 2:27 AM

Dear Svetlana,

 

It was really nice to see you last month with all your kids. What a beautiful family you have! As | promised,
| will provide you with a loan for a maximum period of 5 years. | don't need to have any type of collateral
guarantee. The million dollar loan | am providing you will be repaid as we discussed at latest on
September 1st 2024. | will make successive transfers of 5 times 200'000 USD. The first of this payments
has been organised already. As we agreed, the interest rate will be of 5% annual, meaning 50'000 USD a
year, first payment being on September 1st, 2020. We don't need to formalise our agreement in a
contract, as | trust you. Nevertheless, for the sake of clarity and solely for internal banking purposes,
please confirm in writing, answering this email, that you confirm our agreement with these conditions.

| am looking forward to meeting you soon in the US.
All the best,

Ralph

To:ralph oswald isenegger

Sep 3 at 8:22 AM
Hello Ralph,

It was so nice to meet you as well. | look forward to seeing you and hopefully your family soon. |
appreciate this loan, thank you very much. | understand the details and | confirm. Speak soon.

Respectfully,
Svetlana

‘To:Svetlana Parnas

Sep 4 at 11:03 AM

Dear Svetlana,

Thanks for your e-mail.

First and second tranche have been sent.

Kindly confirm good receipt so that | can proceed further.

Please send me your cell. number so that | can send you the photos of my little boy.

Kind regards,

Ralph
Case 1:19-cr-00725-JPO Document 56-3 Filed 12/20/19 Page 2 of 3

Svetlana Parnas
Tes:ralph oswald isenegger
Sep 4 at 12:07 PM

Ralph,

Thank you both have been received. My number iii

Respectfully,
Svetlana

ralph oswaldisenegecr

fo:Svetlana Parnas

Sep 5 at 4:34 PM

Dear Svetlana,

| hope this email finds you well.
Please take note of the following.

My bank advised me today that they would execute the payment of the third tranche on Tuesday, the
fourth on Wednesday and the last one on Friday next week.

Kind regards,

Ralph

Svetlana Parnas

o:ralph oswald isenegger
Sep 5 at 9:38 PM

Hello Ralph,

Thank you for the update.

Respectfully,
Svetlana

Sent from my iPhone
Case 1:19-cr-0 : 6-3 Filed 12/20/19 Page 3 of 3
ralph oswald «|

‘Yo:Svetlana Parnas
Dec 16 at 2:12 PM

Dear Svetlana,

I wish you are doing well, despite the terrible situation you and your
family is facing.

I have recently received a letter from Joseph Bondy, who is
apparently your husband’s lawyer.

[ don't know what kind of Federal US law violations might have been
committed by Lev (I hope he is totally innocent), but what I know is
that I accepted to enter into a personal loan with you, and that we
agreed on the terms of this loan by e-mail (5% interests per year/ 5
years contract).

After your husband being detained and on the front page of all
media, and despite the fact that my loan to you was for a period of
five years, I would like to ask you to reconsider our agreement and
to return me the whole amount with no delay.

I don’t want to see my name mixed with this scandal and | am sure
you understand my position.

If you accept to return me promptly these funds, I will not ask you,
as a gesture from my side, to pay any interests for the first three
month of the loan, meaning from October, 1st, 2019, when you
received the last tranche.

If for whatever reason you will not be able to return me my money
right now, tell me at least with collateral you could offer in order to
secure and guarantee the repayment of the loan and/or which
portion of the money could be sent back to me?

J am sure you understand my position.
Kind regards,

Ralph
